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             EXHIBIT QQ
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                              U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                             Philadelphia District Office
                                          Attorney Referred Charge Checklist


Your Name (Charging Party’s Attorney’s Name):

Your e-mail address (Charging Party’s Attorney’s e-mail):

Your firm’s name & address:
Date Submitted:                                                 EEOC Office Use Only
                                                                Date Received:
Location of
Alleged
Discrimination

Date(s) of
Alleged
Discrimination:
Statute/s:           Basis (protected class/es):
                     Issue (alleged discriminatory action/s):

Charging Party       Name:
                     E-mail address:
                     National Origin:               Race:            Gender:           DOB:

Respondent           Name of Respondent:
                     Name of Respondent official who should receive the Charge:
                     Address of Respondent official:

                     E-mail address of Respondent official:


Is this an Amended Charge:                                                              Yes       No

If yes, provide: Charge No.
Is this related to a previously filed Charge:                                           Yes       No
If yes, provide: Charge No.
Have you previously filed this matter with EEOC or another agency:                      Yes       No
If yes, provide name of agency & date of filing:

                                                                                              N
Prefer Mediation                                                                        Yes
Requesting Immediate Issuance of Right to Sue                                           Yes       No



                                                                  LB EEOC Docs 0001
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DEREK SMITH LAW GROUP, PLLC
By: Seth D. Carson
ID: 319886
1845 Walnut Street, Suite 1600
Philadelphia, PA 1910
Phone: 215.391.4790
Facsimile: 215.893.5288
Email: seth@dereksmithlaw.com             ATTORNEY FOR CHARGING PARTY
___________________________________________________________________________
                                     :
LISA BARBOUNIS                       :    EQUAL EMPLOYMENT
2601 Pennsylvania Avenue             :    OPPORTUNITY COMMISSION
Philadelphia, PA 19130               :
                      Charging Party :    December 13, 2019
vs.                                  :
                                     :
MIDDLE EAST FORUM                    :    TO BE DUAL FILED WITH THE
1650 Market Street, Suite 3600       :
Philadelphia, PA 19103               :
and                                  :    PENNSYLVANIA HUMAN
DANIEL PIPES (individually)          :    RELATIONS COMMISSION
and                                  :
GREG ROMAN (individually)            :    AND
and                                  :
MATTHEW BENNETT (individually)       :     PHILADELPHIA COMMISSION
                                     :     ON HUMAN RELATIONS
                      Respondents.   :

                                ENTRY OF APPEARANCE


    Kindly enter the appearance of Seth D. Carson, Esquire, on behalf of Charging Party, LISA

BARBOUNIS, in the above listed matter.

                                                  DEREK SMITH LAW GROUP, PLLC,


                                                  _____/s/ Seth D. Carson________________
                                                   SETH D. CARSON, ESQUIRE

DATED: December 13, 2019




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                                             June 20, 2019

Via Email: "EEOC Philadelphia" <philatty@eeoc.gov>
Equal Employment Opportunity Commission
801 Market Street
Suite 1300
Philadelphia, PA 19107-3127
Attention: Intake Unit

Re:                    Our Client    :          Lisa Barbounis
                 Nature of Complaint :          Discrimination, Harassment & Retaliation

                                               -against-
                                         Middle East Forum

                                             Daniel Pipes

                                             Greg Roman

                                          Matthew Bennett

                                    (collectively “Respondents”).

Dear Sir or Madam:

       The following Charge of discrimination and retaliation is filed on behalf of our client,
Lisa Barbounis against the Middle East Forum, Daniel Pipes, Greg Roman, and Matthew
Bennett, (hereinafter “Respondents”).

        We request this Charge be dual filed with the Pennsylvania Human Relations
Commission, the Philadelphia Commission on Human Relations and any other state or local
agency with whom the EEOC has a work sharing agreement. Charging Party, Lisa Barbounis
makes her claim under all applicable rules, regulations, statutes and ordinances relevant to the
facts provided.


        New York City Office: One Penn Plaza, Suite 4905, New York, NY 10119 | (212) 587-0760
      Philadelphia Office: 1835 Market Street, Suite 2950, Philadelphia, PA 19103 | (215) 391-4790
             Miami Office: 100 SE 2nd Street, Suite 2000, Miami, FL 33131 | (305) 946-1884
            New Jersey Office: 73 Forest Lake Drive, West Milford, NJ 07421 | (973) 388-8625
                        Website: www.discriminationandsexualharassmentlawyers.com



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     Upon information and belief Charging Party, Lisa Barbounis avers the following:



                                            PARTIES

1.      Charging Party, Lisa Barbounis (“Charging Party”) is an adult individual who resides in

        the Commonwealth of Pennsylvania with an address for purposes of correspondence at

        3601 Pennsylvania Avenue, Suite 1153, Philadelphia, Pennsylvania 19130.

2.      Respondent, Middle East Forum is a non-profit organization which is licensed to and

        regularly transacts business in the Commonwealth of Pennsylvania with offices for the

        purposes of correspondence at 1650 Market Street, Suite 3600, Philadelphia,

        Pennsylvania 19103.

3.      Respondent, Daniel Pipes is an adult individual who resides in the Commonwealth of

        Pennsylvania with a business address for the purposes of correspondence at 1650 Market

        Street, Suite 3600, Philadelphia, Pennsylvania 19103.

4.      At all times relevant to this Charge, Respondent, Daniel Pipes was employed by

        Respondents, held the title President, and held supervisory authority over Charging Party,

        Lisa Barbounis.

5.      Respondent, Greg Roman is an adult individual who resides in the Commonwealth of

        Pennsylvania with a business address for the purposes of correspondence at 1650 Market

        Street, Suite 3600, Philadelphia, Pennsylvania 19103.

6.      At all times relevant to this Charge, Respondent, Greg Roman was employed by

        Respondents as the Director of the Middle East Forum and held supervisory authority

        over Charging Party, Lisa Barbounis.




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7.    Respondent, Matthew Bennett is an adult individual who resides in the Commonwealth of

      Pennsylvania with a business address for the purposes of correspondence at 1650 Market

      Street, Suite 3600, Philadelphia, Pennsylvania 19103.

8.    At all times relevant to this Charge, Respondent, Matthew Bennett was employed by

      Respondents and held supervisory authority over Charging Party, Lisa Barbounis.

9.    At all times relevant to this Charge Respondents were Charging Party’s joint and sole

      employer.

                                    MATERIAL FACTS

10.   Charging Party, Lisa Barbounis (“Charging Party”) began her employment for

      Respondents, Middle East Forum, Daniel Pipes, Greg Roman, and Mathew Bennett

      (collectively “Respondents”) sometime around October 23, 2017.

11.   Charging Party was hired as an Executive Liesan.

12.   Respondent, Greg Roman is currently the Director of the Middle East Forum.

13.   Respondent, Daniel Pipes is currently the President of the Middle East Forum.

14.   March 2018, Charging Party, Lisa Barbounis and coworker, Patricia McNulty attended a

      conference in Washington DC. This conference was the American Israel Public Affairs

      Committee (“APAC”).

15.   Others in attendance included Respondent, Greg Roman, Respondent, Mathew Bennett,

      and coworker, Marnie Meyer.

16.   Respondent, Greg Roman and Respondent, Mathew Bennett booked an Airbnb in

      Washington D.C. for the APAC Conference.

17.   Charging Party, Lisa Barbounis booked a hotel room for the APAC Conference.




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18.    The other female employees, including coworker, Patricia McNulty also booked hotel

       rooms for the APAC Conference.

19.    After dinner, Respondent, Greg Roman invited Grantees from The Pinsker Center and a

       writing fellow named Raheem Kassam back to his Airbnb.

20.    Respondent, Greg Roman sat on the couch between Charging Party, Lisa Barbounis and

       coworker, Patricia McNulty.

21.    Respondent, Greg Roman proceeded to put his arms around both Charging Party, Lisa

       Barbounis and coworker, Patricia McNulty.

22.    Respondent, Greg Roman grabbed coworker, Patricia McNulty by her upper thigh and

       violently yanked coworker, Patricia McNulty onto his lap. Respondent, Greg Roman then

       began whispering inappropriate sexual advances in coworker, Patricia McNulty’s ear.

23.    Charging Party, Lisa Barbounis was present and witnesses this violent and aggressive

       sexual assault.

24.    Coworker, Patricia McNulty tried to pull away from Respondent, Greg Roman who

       resisted coworker, Patricia McNulty attempts to escape from Respondent, Greg Roman’s

       grip.

25.    Coworker, Patricia McNulty had to fight to get away.

26.    Once coworker, Patricia McNulty was able to get away, she left the room and entered the

       kitchen area. Thereafter, Charging Party, witnesses Respondent, Greg Roman leave the

       room and go upstairs. He did not return downstairs.

27.    Respondent, Greg Roman sexually assaulted coworker, Patricia McNulty at the APAC

       conference when he violently yanked her across the couch, onto his lap, and whispered

       inappropriate, unwelcome sexual advances in her ear.




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28.    Respondent, Greg Roman subjected Charging Party, Lisa Barbounis to severe and

       pervasive discrimination and harassment based upon Charging Party’s sex and gender.

29.    Respondent, Greg Roman screamed at Charging Party. Respondent, Greg Roman cursed

       at Charging Party. Respondent, Greg Roman did not treat Charging Party’s similarly

       situated male coworkers in this discriminatory, abusive, hostile and intolerable manner.

30.    Respondent, Greg Roman also subjected Charging Party’s coworker, Patricia McNulty to

       severe and pervasive discrimination and harassment based upon her sex and gender.

31.    Respondent, Greg Roman also subjected Charging Party’s coworker, Caitriona Brady to

       severe and pervasive discrimination and harassment based upon her sex and gender.

32.    Respondent, Greg Roman also subjected Charging Party’s coworker, Delaney Yonchek to

       severe and pervasive discrimination and harassment based upon her sex and gender.

33.    In April 2018, Respondent, Greg Roman and Charging Party, Lisa Barbounis were sent to

       Israel for business meetings. This was a work trip organized through and for the Middle

       East Forum.

34.    Respondent, Greg Roman ordered Charging Party, Lisa Barbounis not to tell anyone that

       Charging Party, Lisa Barbounis was accompanying Respondent, Greg Roman on the trip.

35.    Respondent, Greg Roman notified Charging Party, Lisa Barbounis that in order to travel

       to Israel, Charging Party had to agree to share an Airbnb with him. Charging Party, Lisa

       Barbounis agreed on the condition that they book a two-bedroom Airbnb. This was a

       specific condition because Respondent, Greg Roman refused to take Charging Party Lisa

       Barbounis on the Israel trip unless she agreed to share an Airbnb with him. Charging

       Party, Lisa Barbounis wanted the opportunity to travel to Israel and therefore made

       certain that Respondent, Greg Roman booked a two-bedroom Airbnb.




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36.    Respondent, Greg Roman subjected Charging Party, Lisa Barbounis to prid pro quo

       sexual harassment by forcing her to share an Airbnb with him in order to travel to Israel.

37.    Respondent, Greg Roman asked Marnie Meyer to go on the trip before he asked Charging

       Party, Lisa Barbounis. When Marnie Meyer informed Respondent, Greg Roman that she

       wanted to have her own hotel room, Respondent, Greg Roman said, “just forget it.”

38.    Before the Israel trip, Respondent, Greg Roman instructed Charging Party, Lisa

       Barbounis not to tell anyone that she was coming on the trip. Respondent, Greg Roman

       said, “Don’t tell your family. Don’t tell Daniel. Don’t tell anyone in the office.”

39.    While on the trip, Charging Party, Lisa Barbounis was sitting on the couch in the living

       room/entertainment room of the Airbnb when Respondent, Greg Roman sat down next to

       Charging Party Lisa Barbounis. Respondent, Greg Roman then put his legs on the couch

       and put his feet under Charging Party Lisa Barbounis’s backside.

40.    Respondent, Greg Roman then said: “now that my foot is on your ass we have reached a

       new level.” Charging Party Lisa Barbounis got up, walked away and tried to laugh it off.

       Charging Party Lisa Barbounis was highly uncomfortable at the obvious, inappropriate

       and unwelcome sexual advance.

41.    The next evening, Respondent, Greg Roman left the Airbnb to go out. Charging Party

       Lisa Barbounis stayed home to work and finish a Power Point.

42.    Respondent, Greg Roman arrived home and confessed to Charging Party Lisa Barbounis

       that he had a sexual relationship with a current intern in the Israel office for the Middle

       East Forum named, Leah Merville.

43.    Respondent, Greg Roman secured Leah Merville’s internship in Israel. Respondent, Greg

       Roman secured Leah Merville’s internship in Israel based upon a prid pro quo sexual




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       harassment. Respondent, Greg Roman informed Charging Party Lisa Barbounis that

       when Leah Merville visited Respondent Greg Roman’s hotel room to sign the internship

       papers, “that’s when I fucked her.”

44.    Respondent, Greg Roman continued to describe the sexual harassment to Charging Party

       Lisa Barbounis. Respondent, Greg Roman said that Leah Merville gives a really great

       blowjob. Respondent, Greg Roman said, “her body is so tight.” Respondent, Greg

       Roman continued to describe in detail his sexual relationship to Charging Party Lisa

       Barbounis.

45.    Charging Party Lisa Barbounis was highly offended and scared to be alone with

       Respondent, Greg Roman. Charging Party Lisa Barbounis sent text messages while she

       was on the Israel trip to coworker, Patricia McNulty and stated that she was scared and

       planned to sleep with a knife under her pillow. These text messages are available should

       the EEOC investigator wish to view them.

46.    Respondent, Greg Roman informed Charging Party Lisa Barbounis that he attempted to

       make contact with Leah Merville that night. Respondent, Greg Roman explained that he

       desired to continue the sexual relationship with the intern, Leah Merville. However,

       Respondent, Greg Roman said that Leah Merville was ignoring his calls.

47.    Respondent, Greg Roman then directed his sexual advances toward Charging Party Lisa

       Barbounis. Respondent, Greg Roman informed Lisa Barbounis, “I just need a sexual

       release.” Respondent, Greg Roman informed Charging Party Lisa Barbounis, “I really

       need a blowjob.”

48.    The entire time that Respondent, Greg Roman spoke to Charging Party Lisa Barbounis,

       he aggressively paced the room and said, I just need a blow job. I just need a release.




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49.    Charging Party Lisa Barbounis was scared, offended, harassed, modified, and creeped

       out.

50.    Respondent, Greg Roman’s aggressive sexual conduct became more aggressive.

       Respondent, Greg Roman’s voice got louder as he continued to visit his sexual advances

       upon Charging Party Lisa Barbounis.

51.    Respondent, Greg Roman was Charging Party Lisa Barbounis’s direct supervisor.

52.    Respondent, Greg Roman employed policies, procedures and protocols designed to create

       a barrier between Charging Party Lisa Barbounis and President Daniel Pipes. This

       barrier was aimed at limiting the opportunities that Charging Party had to report

       Respondent, Greg Roman’s unwelcome sexual conduct and comments.

53.    Pursuant to the sexual advances described above and the assault on coworker, Patricia

       McNulty, Respondent, Greg Roman began subjecting Charging Party Lisa Barbounis to

       discrimination and harassment in the office based upon Charging Party’s sex and gender.

54.    This discrimination and harassment escalated significantly after the Israel trip and after

       Charging Party, Lisa Barbounis rejected Respondent’s Greg Roman’s unwelcome sexual

       advances.

55.    Respondent, Greg Roman followed Charging Party Lisa Barbounis around the office.

       Respondent, Greg Roman entered Charging Party Lisa Barbounis’ office when she was

       not present and explored her computer including personal emails, chat history, and

       internet browser history. Respondent, Greg Roman also asked other employees to spy on

       Charging Party Lisa Barbounis.

56.    Respondent, Greg Roman kept tabs on the number of times that Charging Party used the

       bathroom.




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57.    Respondent, Greg Roman subjected Charging Party to severe and pervasive

       discrimination and harassment based upon her sex and gender. This discrimination and

       harassment was evident in the way that Respondent, Greg Roman spoke to Charging

       Party, the assignments he provided, his tone of voice, body language, expressions,

       cursing, and other threatening conduct. Respondent, Greg Roman created a hostile work

       environment for Charging Party.

58.    Charging Party reported the discrimination and harassment to which she was subjected by

       Respondent, Greg Roman. Charging Party, Lisa Barbounis notified Marnie Meyer.

       Marnie Meyer prepared a handwritten letter addressed to Daniel Pipes and provided same

       on November 1, 2018.

59.    Respondent, Daniel Pipes spoke to Charging Party the same day and Charging Party

       reported the discrimination and harassment and sexual harassment that occurred on the

       Israel trip. Charging Party also notified Respondent, Daniel Pipes about the Respondent,

       Greg Roman’s sexual harassment during the APAC Conference.

60.    Charging Party also described to Respondent, Daniel Pipes the way that Respondent,

       Greg Roman’s behavior changed significantly after Charging Party rejected his

       unwelcome sexual advances.

61.    In addition to the reports of discrimination and harassment which Charging Party

       provided, several other employees at the Middle East Forum also spoke to Respondent,

       Daniel Pipes on November 1, 2018.

62.    By at least November 1, 2018, Respondent Daniel Pipes was on notice regarding

       Respondent, Greg Roman’s discrimination and harassment to which he subjected the

       female staff employed by the Middle East Forum. This included the incident at the




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       APAC Conference when Respondent, Greg Roman sexually assaulted Patricia McNulty.

       This also included the incident in Israel when Respondent, Greg Roman subjected

       Charging Party, Lisa Barbounis to unwelcome lewd sexual advances.

63.    After Respondent, Daniel Pipes learned about the ongoing severe and pervasive

       discrimination and harassment, he notified Charging Lisa Barbounis, Marnie Meyer,

       Patricia McNulty, and Respondent, Mathew Bennett that nothing was going to be done to

       ameliorate the discrimination and harassment. Respondent, Daniel Pipes said, “priests

       have been accused of more and not lost their jobs.”

64.    Accordingly, Respondent, Daniel Pipes notified the office that the standard at the Middle

       East Forum for discipline pursuant to anti-discrimination laws was not reached by

       Respondent, Greg Romans’ severe and pervasive conduct and comments. This includes

       the sexual assault of Patricia McNulty and the sexual advances and propositions of

       Charging Party, Lisa Barbounis.

65.    Accordingly Respondent, Daniel Pipes initiated no discipline and no corrective action

       was taken.

66.    Charging Party Lisa Barbounis, Marnie Meyer, Patricia McNulty, and Respondent,

       Mathew Bennett were instructed to work from home the following Friday.

67.    Respondent, Daniel Pipes also instructed Charging Party Lisa Barbounis, Marnie Meyer,

       Patricia McNulty, and Respondent, Mathew Bennett to execute new Nondisclosure

       Agreements. Charging Party and Lisa Barbounis refused to sign.

68.    Saturday, November 3, 2018, Charging Party Lisa Barbounis received an email from

       Respondent, Daniel Pipes instructing Charging Party to attend a group meeting scheduled

       Monday, November 5, 2018. This memorandum was sent as a group email to Charging




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       Party and her coworkers. Respondent, Greg Roman was included in the email and

       invitation to attend the group meeting.

69.    In fact, Respondent, Greg Roman was specifically asked to attend the group meeting. It

       was not until Monday, November 5, 2018 when a call was made to Respondent, Greg

       Roman asking that he stay home.

70.    Notwithstanding, Respondent, Greg Roman’s sister attended the meeting and spent the

       entire meeting suggesting that the woman who Respondent, Greg Roman sexually

       harassed were at fault for wearing short skirts. This meeting is indicative of Respondent,

       Daniel Pipes utter failure to bring his organization into compliance with state and federal

       anti-discrimination laws.

71.    After the November 5, 2018 meeting, Respondent, Daniel Pipes decided that Respondent,

       Greg Roman would retain his position, title, pay, and employment with the Middle East

       Forum.

72.    Respondent, Daniel Pipes notified Charging Party that Respondent, Greg Roman would

       work from home and that Charging Party would no longer directly report to Respondent

       Greg Roman. However, this is not what occurred

73.    For the next four to five months, Charging Party was forced to continue working with

       Respondent, Greg Roman. The only change was that Respondent, Greg Roman did not

       visit the office anymore. Charging Party was still subjected to working directly with

       Respondent, Greg Roman

74.    Charging Party was still subjected to the same discrimination and harassment when she

       was forced to work with Respondent, Greg Roman.




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75.    Moreover, Respondent, Greg Roman initiated a campaign of retaliation targeting the

       employees who Respondent, Greg Roman called “the usurpers.” Respondent Greg

       Roman also called them the “backstabbers.”

76.    Respondent, Greg Roman notified Respondent, Mathew Bennett, “they are all usurpers

       and I will never work with usurpers.” Even more recently, Respondent, Greg Roman

       announced on a radio show that “all usurpers should be crushed.”

77.    Charging Party was therefore forced to continue working with and taking orders from

       Respondent, Greg Roman.

78.    Respondent, Greg Roman began a campaign of retaliation aimed at Charging Party and

       the other female employees in the office who reported discrimination and harassment

       including Marnie Meyer and Patricia McNulty.

79.    Sometime around March 2019, Respondent, Daniel Pipes ordered Marnie Meyer, Patricia

       McNulty and Charging Party, Lisa Barbounis into a meeting where Respondent, Daniel

       Pipes announced that Respondent, Greg Roman was moving back to a position where he

       would begin working directly with Charging Party Lisa Barbounis and the other female

       employees Respondent, Greg Roman subjected to discrimination and harassment.

80.    At all times Respondent, Greg Roman retained the position of Director of the Middle East

       Forum.

81.    At all times, Charging Party was forced to continue working at the Middle East Forum

       with Respondent, Greg Roman.

82.    In the March 2019 meeting, Respondent, Daniel Pipes announced that he was going to

       eliminate the purported safe measures initiated to protect the female staff from




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       Respondent, Greg Roman’s severe and pervasive discrimination, harassment, and

       retaliation.

83.    Accordingly, since March 2019, Respondent, Greg Roman’s contact with the female staff

       including Charging Party has continued to increase.

84.    Respondent, Greg Roman’s campaign of retaliation since March 2019 has been aimed at

       effecting Charging Party’s termination from the Middle East Forum.

85.    This was also around the time when Charging Party and coworker Patricia McNulty

       learned about another allegation of sexual harassment involving Respondent, Greg

       Roman.

86.    Respondent, Greg Roman began a rumor that Marnie Meyer was having a sexual

       relationship with Caitriona Brady’s father.

87.    Caitriona Brady is an employee at the Middle East Forum who holds the position

       Development Associate.

88.    When Respondent, Greg Roman first learned that another allegation of sexual harassment

       was reported, he did not yet know the details of the allegation. Accordingly, Respondent,

       Greg Roman and Respondent, Mathew Bennett began a guessing game where they

       attempted to guess what the allegation involved. Respondent, Greg Roman incorrectly

       guessed that the sexual harassment allegation involved a former intern named Gabrielle

       Bloom who Respondent, Greg Roman paid to have sex with.

89.    Accordingly, Respondent, Greg Roman subjected two female interns to prid pro quo

       sexual harassment, as well as subjecting Charging Party to a sexual assault.

90.    Respondent, Greg Roman also subjected Charging Party, Lisa Barbounis to prid pro quo

       sexual harassment by forcing her to share an Airbnb with him in Israel.




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91.    Just days after the March 2019 meeting when Respondent, Daniel Pipes announced that

       he was eliminating the measures designed to protect female staff from Respondent Greg

       Roman, Respondent, Greg Roman called Respondent, Mathew Bennett. Respondent,

       Greg Roman informed Respondent, Matthew Bennett, “now that I am back, I am going to

       begin searching for a replacement for the Director of Development.”

92.    This was the position of a coworker, Patricia McNulty who also reported discrimination

       and harassment by Respondent, Greg Roman.

93.    Respondent, Greg Roman’s statement about Patricia McNulty indicated his intent to

       retaliate against the employees who reported discrimination and harassment. Respondent,

       Greg Roman’s primary targets were Patricia McNulty and Charging Party, Lisa

       Barbounis.

94.    Respondent, Greg Roman has initiated a campaign of discrimination, harassment, and

       retaliation against Charging Party in an effort to effect Charging Party’s termination.

95.    Charging Party has reported this to Respondent, Daniel Pipes. Respondent, Daniel Pipes

       has utterly disregarded all of Charging Party’s reports of ongoing discrimination,

       harassment and retaliation. If anything, Respondent, Daniel Pipes has continued to give

       Respondent, Greg Roman more access, authority, and opportunity to effectuate his

       discriminatory and retaliatory agenda.

96.    At present, Charging Party is subjected to a severe and pervasive atmosphere of

       discrimination and harassment based upon her sex and gender and in retaliation for

       Charging Party’s reports and opposition to Respondents sexual harassment and

       discrimination and harassment of Charging Party.




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97.     Charging Party continues her attempts to report and obtain assistance from Respondent,

        Daniel Pipes.

98.     Respondent, Daniel Pipes continues to protect, shield, indemnify and assist Respondent,

        Greg Roman from any and all impact caused by his severe and pervasive discrimination

        and harassment.

99.     Accordingly, Respondent, Daniel Pipes has condoned, sanctioned, permitted, and allowed

        the discrimination, harassment, and retaliation to continue.

100.    Respondents have made Charging Party’s working conditions so onerous, abusive, and

        intolerable that no person in Charging Party’s shoes should be expected to continue

        working under such conditions.

101.    As a result of Respondents’ actions, Charging Party felt extremely humiliated, degraded,

        victimized, embarrassed and emotionally distressed.

102.    As a result of Respondents’ conduct, Charging Party was caused to sustain serious and

        permanent personal injuries, including permanent psychological injuries. As a result of

        Respondents’ actions, Charging Party felt extremely humiliated, degraded, victimized,

        embarrassed and emotionally distressed.

103.    As a result of the acts and conduct complained of herein, Charging Party has suffered and

        will continue to suffer a loss of income, loss of salary, bonuses, benefits and other

        compensation to which such employment entailed.

104.    Charging Party also suffered future pecuniary losses, emotional pain, humiliation,

        suffering, inconvenience, loss of enjoyment of life, and other non-pecuniary losses.

        Charging Party has further experienced severe emotional and physical distress.




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105.    As Respondents’ conduct has been malicious, willful, outrageous, and conducted with full

        knowledge of the law, Charging Party demands Punitive Damages as against all the

        Respondents, jointly and severally.

106.    Respondents have exhibited a pattern and practice of not only discrimination but also

        retaliation. At all times material Respondents refused to investigate or take appropriate

        remedial action in response to Charging Party’s complaints of discrimination, harassment

        and hostile work environment.

107.    Respondents discriminatory conduct was severe and pervasive, and created a hostile work

        environment for Charging Party.

108.    The above are just some examples of some of the discrimination and retaliation to which

        Respondents subjected Charging Party.

109.    Charging Party claims a pattern and practice of discrimination, claims continuing

        violations, and makes all claims herein under the continuing violations doctrine.

        Respondents have exhibited a pattern and practice of not only discrimination but also

        retaliation.


       Please contact me if you have any questions or require any additional information. Thank
you for your courtesy and cooperation in the matter.

                                                Very truly yours,

                                                DEREK SMITH LAW GROUP, PLLC

                                                 BY: ___/s/ Seth D. Carson ____________
                                                      Seth D. Carson, Esquire
                                                      1835 Market Street
                                                      Suite 2950
                                                      Philadelphia, PA 19103

DATED: June 20, 2019



                                                             LB EEOC Docs 0021
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DEREK SMITH LAW GROUP, PLLC
By: Seth D. Carson
ID: 319886
1845 Walnut Street, Suite 1600
Philadelphia, PA 1910
Phone: 215.391.4790
Facsimile: 215.893.5288
Email: seth@dereksmithlaw.com             ATTORNEY FOR CHARGING PARTY
___________________________________________________________________________
                                    :
LISA BARBOUNIS                      :     EQUAL EMPLOYMENT
2601 Pennsylvania Avenue            :     OPPORTUNITY COMMISSION
Philadelphia, PA 19130              :
                     Charging Party :     June 20, 2019
vs.                                 :
                                    :
MIDDLE EAST FORUM                   :     TO BE DUAL FILED WITH THE
1650 Market Street, Suite 3600      :
Philadelphia, PA 19103              :
and                                 :     PENNSYLVANIA HUMAN
DANIEL PIPES (individually)         :     RELATIONS COMMISSION
and                                 :
GREG ROMAN (individually)           :     AND
and                                 :
MATTHEW BENNETT (individually)      :      PHILADELPHIA COMMISSION
                                    :      ON HUMAN RELATIONS
                     Respondents.   :

                                ENTRY OF APPEARANCE


    Kindly enter the appearance of Seth D. Carson, Esquire, on behalf of Charging Party, LISA

BARBOUNIS, in the above listed matter.

                                                  DEREK SMITH LAW GROUP, PLLC,


                                                  _____/s/ Seth D. Carson________________
                                                    SETH D. CARSON, ESQUIRE

DATED: June 20, 2019




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To be dual filed with the Philadelphia Commission on Human Relations and the Pennsylvania Human Relations
Act. Charging Party, Lisa Barbounis submits this Charge of Discrimination against Respondents. Charging Party
has prepared a separate Charge form of which this is the cover page.

Charging Party was subjecting to discrimination, harassment and retaliation based upon her sex and gender. The
discrimination and harassment was severe and pervasive and created a hostile work environment.




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                                          LB EEOC Docs 0026
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                                          LB EEOC Docs 0027
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EEOC Form 161 (11/16)                    U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                                 DISMISSAL AND NOTICE OF RIGHTS
To:    Lisa Barbounis                                                                 From:     Philadelphia District Office
       2601 Pennsylvania Avenue                                                                 801 Market Street
       Philadelphia, PA 19130                                                                   Suite 1300
                                                                                                Philadelphia, PA 19107


                            On behalf of person(s) aggrieved whose identity is
                            CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No.                                 EEOC Representative                                                    Telephone No.

                                                Legal Unit,
530-2020-01489                                  Legal Technician                                                       (267) 589-9700
THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
                 The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

                 Your allegations did not involve a disability as defined by the Americans With Disabilities Act.

                 The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

                 Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                 discrimination to file your charge
                 The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
                 information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
                 the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.
                 The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

       X         Other (briefly state)            No Jurisdiction - Lawsuit filed, Docket No. 2:19-cv-05030-JDW


                                                         - NOTICE OF SUIT RIGHTS -
                                                   (See the additional information attached to this form.)

Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

                                                                     On behalf of the Commission

                                                                                                                         March 20, 2020
Enclosures(s)                                                                                                                  (Date Mailed)
                                                                 Jamie R. Williamson,
                                                                   District Director
cc:        MIDDLE EAST FORUM                                                         Seth Carson, Esq. (for Charging Party)
           David J. Walton, Esq. (for Respondent)                                    DEREK SMITH LAW GROUP, PLLC
           COZEN O'CONNOR                                                            1835 Market Street, Suite 2950
           1650 Market Street, Suite 2800                                            Philadelphia, PA 19103
           Philadelphia, PA 19103




                                                                                              LB EEOC Docs 0028
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Enclosure with EEOC
Form 161 (11/16)
                                             INFORMATION RELATED TO FILING SUIT
                                           UNDER THE LAWS ENFORCED BY THE EEOC
                               (This information relates to filing suit in Federal or State court under Federal law.
                      If you also plan to sue claiming violations of State law, please be aware that time limits and other
                             provisions of State law may be shorter or more limited than those described below.)

                                       Title VII of the Civil Rights Act, the Americans with Disabilities Act (ADA),
PRIVATE SUIT RIGHTS               --
                                       the Genetic Information Nondiscrimination Act (GINA), or the Age
                                       Discrimination in Employment Act (ADEA):

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was mailed to you (as
indicated where the Notice is signed) or the date of the postmark, if later.
Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Courts often require that a copy of
your charge must be attached to the complaint you file in court. If so, you should remove your birth date from the
charge. Some courts will not accept your complaint where the charge includes a date of birth. Your suit may include
any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged in the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brought where relevant employment records are kept, where the employment would have
been, or where the respondent has its main office. If you have simple questions, you usually can get answers from
the office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint
or make legal strategy decisions for you.

PRIVATE SUIT RIGHTS               --   Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 – not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title VII, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION --                     Title VII, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE                             --   All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

                  IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.

                                                                                     LB EEOC Docs 0029
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                                                     Seth CarsonFiled   04/20/21 Page 31 of 32
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       Online Access to Charge Information
       U.S. Equal Employment Opportunity Commission <noreply@eeoc.gov>
       Tue 12/24/2019 2:38 AM
       To: Seth Carson <seth@dereksmithlaw.com>


           1 attachments (186 KB)
       eeoc_color_seal3008129252477331876eeoc_color_seal;




                            U.S. Equal Employment Opportunity Commission



       Dear Lisa Barbounis:

       This notice is being sent to you because you recently filed a charge (530-2020-01489) with the U.S.
       Equal Employment Opportunity Commission (EEOC). EEOC is pleased to inform you that you can now
       access information about your charge through a secure website, the EEOC Public Portal.

       EEOC’s Public Portal allows you to:

               Update your contact info
               Upload a letter of representation from your attorney if you have one
               Upload documents supporting your charge
               Request the respondent’s Position Statement if it submits one, and upload your response
               Check the status of your charge

       To access your charge information online:

            1. Go to https://publicportal.eeoc.gov/portal/
            2. Select My EEOC Cases.
            3. Click Sign-Up Now under New Users.
                      Enter your contact information and create a password.
                      When you create your account, you’ll automatically log into the Portal.
            4. Once you’re logged-in, you’ll be taken directly to your charge.

       IMPORTANT! When entering your contact information, enter the Email Address that this notice was
       sent to.

       Only you and the EEOC can access your charge information. If you have an attorney or other
       representative assisting you with your charge, your representative received a copy of this email. Only
       one of you may create an account for this charge. If you create an account, you will need to provide
       your log-in information to your attorney or representative to allow them to access your online charge
       information.

       What You Should Do Next:

       There are a few important things to keep in mind after filing a charge with EEOC, particularly:

                                                                            LB EEOC Docs 0030
https://outlook.office.com/mail/inbox/id/AAQkAGEwMGIwNDhmLWIyMTYtNGE5Mi1iNjdlLTE4NDgwNzM1YzIyMQAQAFwd6nspBuZLtnyQs0kcWp8%3D   1/2
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                                                    Seth CarsonFiled   04/20/21 Page 32 of 32
                                                               - Outlook

              You must keep your documents – both paper and electronic
              Look for a job and keep records of your job search if you are unemployed

       Given the high demand for EEOC’s services and the agency’s limited resources, we ask you to be
       patient. EEOC’s investigation will vary based on many factors, including the agency’s responsibility to
       focus on matters that serve the broader public interest in equal opportunity. EEOC is committed to
       strong enforcement of the law and excellent service to the public. Your cooperation is essential to
       EEOC’s investigation of your charge.

       EEOC typically receives over 90,000 charges of discrimination from workers out of more than 500,000
       inquiries seeking information and assistance every year. Although EEOC is able to address thousands
       of complaints, the agency cannot remedy every potential violation of the federal discrimination laws.
       Recognizing this, Congress gave workers the right to file lawsuits in court after first allowing EEOC the
       opportunity to investigate their charge.

       If you want to file a lawsuit before the EEOC has finished our investigation, you can request a Notice of
       Right-to-Sue. Go to https://www.eeoc.gov/employees/lawsuit.cfm for more information. If you want
       the EEOC to continue investigating your charge, don't request a Notice of Right-to-Sue.

       This email is an automated notification from the U.S. Equal Employment Opportunity Commission
       (EEOC) regarding charge 530-2020-01489. Please do not reply to this email, as the email address is
       unattended.

       Notice of Confidentiality: The information contained in this transmission may contain privileged and confidential information,
       including information protected by federal and state privacy laws. It is intended only for the use of the person(s) named above.
       If you are not the intended recipient, you are hereby notified that any review, dissemination, distribution, or duplication of this
       communication is strictly prohibited and may be unlawful. If you are not the intended recipient, please contact us at digital-
       support@eeoc.gov and destroy all copies of the original message and attachments.




                                                                                     LB EEOC Docs 0031
https://outlook.office.com/mail/inbox/id/AAQkAGEwMGIwNDhmLWIyMTYtNGE5Mi1iNjdlLTE4NDgwNzM1YzIyMQAQAFwd6nspBuZLtnyQs0kcWp8%3D                  2/2
